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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,                )
                                      )
        Plaintiffs,                   )
                                      )         CIVIL ACTION NO.
        v.                            )          2:14cv601-MHT
                                      )               (WO)
JEFFERSON S. DUNN, in his             )
official capacity as                  )
Commissioner of                       )
the Alabama Department of             )
Corrections, et al.,                  )
                                      )
        Defendants.                   )

                           OPINION AND ORDER

       This      court      previously        found       that      severe

correctional             understaffing            contributes               to

constitutionally          inadequate       mental-health         care       in

Alabama prisons.           Consequently, the court ordered the

defendants to increase correctional staffing.                     To this

end,     the   court     required    the   defendants      to    implement

recommendations for recruitment and retention contained

in an expert report by the firm Warren Averett (WA).

The plaintiffs moved to unseal redacted portions of the

WA           report,         including           the         recommended
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correctional-officer             compensation          increases.             The

plaintiffs       contended       that       the   public     has     a    strong

interest    in     accessing       them,       given    that       they   could

impact significant government spending.                           By contrast,

the     defendants    argued          that     unsealing      the     redacted

sections    would    undermine          their     ability      to    implement

recommended compensation increases.                        Last month, the

court    granted     the    plaintiffs’           motion     to     unseal    the

entire report, explaining that the public’s interest in

accessing the redacted portions of the report outweighs

the   defendants’      interest         in     confidentiality.              This

opinion    elaborates       on    the reasons          for   unsealing        the

report.



                      I.     PROCEDURAL HISTORY

      The plaintiffs in this class-action lawsuit include

a group of mentally ill prisoners in the custody of the

Alabama      Department          of         Corrections       (ADOC).         The

defendants    are     the    ADOC       Commissioner         and     Associate

Commissioner of Health Services, who are both sued in


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only their official capacities.               In a liability opinion

entered    in    June     2017,     this    court   found   that       ADOC's

mental-health care for prisoners in its custody was,

simply put, “horrendously inadequate.”                 Braggs v. Dunn,

257 F. Supp. 3d 1171, 1267 (M.D. Ala. 2017) (Thompson,

J.).     The court laid out seven factors contributing to

the    Eighth    Amendment          violation.       Id.    at     1267-68.

Additionally,        it   found      that    “persistent     and       severe

shortages       of   mental-health          staff    and    correctional

staff”     constitute          an    “overarching     issue[       ]     that

permeate[s]      each     of    the ... contributing         factors       of

inadequate mental-health care.”               Id. at 1268.

       The court subsequently issued a remedial opinion on

understaffing, see Braggs v. Dunn, 2018 WL 985759, at

*1 (M.D. Ala. Feb. 20, 2018) (Thompson, J.), along with

a remedial order, see Braggs v. Dunn, 2018 WL 7106346,

at *1 (M.D. Ala. Feb. 20, 2018) (Thompson, J.).                           The

order required the defendants to increase correctional

staffing.       See id.; Savages’ Report (doc. no. 1813-1).

The order also adopted the defendants’ proposal that


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they employ two consultants-–Dr. Stephen Condrey and

the firm WA--to determine how to recruit, hire, and

retain more correctional officers.                     See Braggs, 2018 WL

985759      at   *4.      The   defendants           had   already    retained

those two consultants prior to the order.                        See id.

       The order required Dr. Condrey to submit to ADOC

recommendations           related         to     correctional         officer

“compensation and benefits,” and for the defendants to

file the recommendations with the court by April 2,

2018.      Braggs, 2018 WL 7106346 at 1.                   It also required

the firm WA to submit recommendations to ADOC related

to    correctional       officer    “recruitment           and    retention,”

and for defendants to file the recommendations with the

court by November 2, 2018.                 Id.       By December 1, 2018,

ADOC was required “to implement” the recommendations of

consultants       Dr.    Condrey    and        WA,    as   modified    by   any

agreement between the parties or orders of the court.

See id.

       On March 31, 2018, the defendants publicly filed

Dr.     Condrey’s       recommendations,         including        recommended


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compensation increases.                 See Condrey Report (doc. no.

1725-1).       On November 2, 2018, the defendants filed the

WA report.         See Redacted WA Report (doc. no. 2150-1).

Unlike Dr. Condrey’s recommendations, portions of the

WA      report--including          the        recommended          compensation

increases--were           filed    under       seal.         See    id.        The

plaintiffs        moved     to    unseal       the     WA    report       in   its

entirety.        See Motion to Unseal (doc. no. 2157).



                             II. DISCUSSION

       The public has a common-law right to inspect and

copy     judicial     records      and       documents.       See     Nixon     v.

Warner Commc'ns, Inc., 435 U.S. 589, 597 (1978); see

also Newman v. Graddick, 696 F.2d 796, 802-04 (11th

Cir.     1983)    (applying       the    common-law         right    to    access

judicial records in a class action brought by Alabama

prisoners).         The “test for whether a judicial record

can be withheld from the public is a balancing test

that weighs the competing interests of the parties to

determine        whether    there       is    good   cause     to     deny     the


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public the right to access the document.”                   F.T.C. v.

AbbVie Prods., LLC, 713 F.3d 54, 62 (11th Cir. 2013)

(internal    quotation      marks       omitted).    This    balancing

test    weighs   “the   public      interest    in   accessing    court

documents    against    a   party's       interest   in   keeping    the

information confidential.”           Romero v. Drummond Co., 480

F.3d 1234, 1246 (11th Cir. 2007).              On the public's side

of the scale is the “presumption ... in favor of public

access to judicial records.”             Nixon, 435 U.S. at 602.*

       The defendants conceded that certain portions of

the report that they originally redacted no longer need


    * The factors courts consider in applying the test
include, among others, “whether allowing access would
impair court functions or harm legitimate privacy
interests, the degree of and likelihood of injury if
made public, the reliability of the information,
whether there will be an opportunity to respond to the
information, whether the information concerns public
officials or public concerns, and the availability of a
less onerous alternative to sealing the documents,”
Romero, 480 F.3d at 1246, as well as “whether the
records are sought for such illegitimate purposes as to
promote public scandal or gain unfair commercial
advantage, whether access is likely to promote public
understanding of historically significant events, and
whether   the   press   has   already  been   permitted
substantial access to the contents of the records,”
Newman, 696 F.2d at 803.

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to    remain      under    seal.          Those       portions     include    data

concerning            correctional         staffing        levels     at      ADOC

facilities, as well as current and past salaries for

correctional staff.

       The redacted portions of the report that remain in

dispute fall into three categories.                       The first category

is      comprised         of       the         WA      report’s     recommended

compensation            increases        for         correctional     officers,

including salaries and bonuses.                          The second includes

comparisons between ADOC correctional officers’ current

compensation and that of similar jobs in the public and

private      sectors.           The   third         includes   WA’s   estimated

costs      of     implementing           the        recommended    compensation

increases.

       For      each    category,        the        dispositive    question     is

whether         the     public’s         interest        in    accessing       the

information            outweighs      the       defendants’        interest     in

keeping      it       confidential.             As     explained    below,     the

answer is yes for each category.                        The court will begin

its     analysis         with    the      first         category--recommended


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compensation          increases--which              has    been    the   primary

focus    of     the     defendants’           arguments,      and    thus     this

dispute.



 A. First Category: Recommended Compensation Increases

                        1. The Public’s Interest

    The public has an enormous interest in accessing

the WA report’s recommended compensation increases.                             To

start,     if      ADOC        follows        this       court’s    order,     the

recommendations             will     have      a     large    impact     on    how

taxpayer      dollars          are   spent.          This    is    because     the

understaffing           remedial          order       mandates      that      ADOC

implement WA’s recommended compensation increases.                             The

understaffing remedial order states: “By December 1,

2018,    ADOC      is     to    implement          the    recommendations       of

consultants        Condrey         and   the    firm      Warren    Averett,    as

modified      by      any      agreements          between   the    parties     or

orders of this court."                   Braggs, 2018 WL 7106346 at 1.

The WA recommendations, in defense counsel’s own words,

call for “arguably the largest reform in the benefit


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and     pay   structure      that’s      ever     been    done       to    the

Department of Corrections.”               Dec. 6, 2018, Trial Tr.

(doc.     no.     2254)      at     18-19.            Accordingly,          the

recommendations,       if    implemented,        will    greatly      impact

Alabama government spending.              As this court and others

have recognized, the public has a powerful interest in

overseeing government spending.                  See Braggs v. Dunn,

2019    WL    78949,   at    *3-4     (M.D.      Ala.    Jan.    2,       2019)

(Thompson, J.) (recognizing this interest in granting

motion to unseal correctional staffing numbers); Kelly

v. Wengler, 979 F. Supp. 2d 1243, 1244-46 (D. Idaho

2013) (Carter, J.) (reasoning, in granting a motion to

unseal, that “Idaho taxpayers pay CCA to operate one of

their    prisons.         With    public      money     comes    a    public

concern       about    how    that       money    is     spent.”);          cf.

News-Press v. U.S. Dep't of Homeland Sec., 489 F.3d

1173, 1196 (11th Cir. 2007) (holding, in a Freedom of

Information Act (FOIA) case, that “the public interest

in determining whether FEMA has been a proper steward




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of   billions    of     taxpayer       dollars         is    undeniable      and

powerful”).

     As detailed below, at a hearing this April, the

defendants indicated that they were currently seeking

pay raises for correctional staff that are materially

smaller than those recommended in the WA report.                             Even

if--consistent with these representations at the April

hearing--the         defendants       do     not       implement       the    WA

report’s recommendations, the public would still have a

compelling interest in accessing them.                         In overseeing

government spending, a key piece of information for the

public to know is whether ADOC is paying correctional

staff   the      amount       that     its       own        retained    expert

recommended      to     effectively           address         understaffing.

Moreover,     the      public        has     a     strong       interest       in

overseeing      ADOC’s        compliance           with      court     orders,

especially      those       aimed    at     remedying         constitutional

violations.      Cf. Storm v. Twitchell, 2014 WL 4926119,

at *14 (D. Idaho Sept. 29, 2014) (Dale, M.J.) (“Whether

conditions      at    the    county        jails    violate      the    Eighth


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Amendment          of     the     United        States     Constitution          is

important          information          for     the     general       public     to

know.”).       To evaluate whether ADOC is complying with

court orders, the public needs to be able to compare

the     WA    recommendations            the     court    ordered       ADOC     to

implement      with       the    compensation          increases       that    ADOC

ultimately seeks to enact.



                        2. The Defendants’ Interests

      On     the    other       side    of    the scale,        the   defendants

asserted       three          central        interests     in     keeping       the

recommended compensation increases sealed.                             All three

are part of their overarching contention that unsealing

the   recommendations             would       impede     ADOC’s       ability    to

comply       with       court     orders       to     increase    correctional

compensation and staffing levels.

      First,       the    defendants          argued    that     unsealing      the

recommended         compensation             increases     would       undermine

their      efforts       to    obtain    the     necessary       approvals      for

implementing them.                ADOC cannot unilaterally increase


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correctional         officer      compensation.          See   Dunn     Decl.

(doc. no. 2187-2) at 3.             Implementing WA’s compensation

recommendations          will     require    passing       legislation     to

secure     adequate       funding.          Lawley    Decl.     (doc.     no.

2187-3)    at     4-5.       Commissioner         Jefferson     Dunn     also

testified that in addition to approving funding, the

legislature       also    must     approve    the    salary     increases.

Dunn Nov. 26, 2018 Trial Tr. (doc. no. 2250) at 215-16.

After    obtaining        the     required    legislative       approvals,

“ADOC will need to secure approvals from the Alabama

Department      of     Finance     and     work   with     representatives

from the State Personnel Department and State Personnel

Board to implement the proposed changes to pay grades

and     compensation       rates.”          Lawley    Decl.     (doc.     no.

2187-3) at 5.

      Commissioner Dunn asserted that, in working with

these     other        government     branches       and    agencies      and

attempting        to     secure     their     approvals,       ADOC     “must

preserve the right to control the manner and timing of

when it discloses the full details of Warren Averett’s


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recommendations to these third parties so as to most

effectively address the recommendations with the third

parties.”       Dunn Decl. (doc. no. 2187-2) at 5.                        Full

disclosure      of    the       report       “at    this    juncture      could

unnecessarily complicate ADOC’s discussions with these

third    parties,”         he    said.        Id.      Specifically,        the

defendants maintained that publicizing the recommended

raises    for        ADOC       correctional        staff     would       cause

personnel    from      other         State     agencies     to     also    seek

raises.     See, e.g., Graham Decl. (doc. no. 2212-1) at

6.

      Second, the defendants argued that unsealing the

recommendations would disadvantage them with respect to

competitor employers in the labor market.                        They argued,

for    example,      that,      if    the     recommended        compensation

increases    became         public,      “other     law    enforcement     and

correctional employers would enjoy a head start on ADOC

in    competing      for     employees.”            Defendants’      Response

(doc. no. 2187) at 7.




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       Third, the defendants contended that unsealing the

recommendations would risk hurting correctional officer

morale--and           thus          contributing               to         staff

departures--because           it        would        create     unrealistic

expectations     that       compensation        would     be    immediately

increased.       According         to    Commissioner         Dunn,      morale

would decline if ADOC cannot timely implement salary

increases.     See Dunn Decl. (doc. no. 2187-2) at 6.

       All three of the defendants’ asserted interests in

confidentiality       are    severely         diminished       by   the       fact

that    they   have   already      voluntarily         disclosed         to    the

public information indicating that they will increase

compensation for correctional officers.                       Last year, in

March 2018, the defendants publicly filed the expert

report by Dr. Condrey, which recommends compensation

increases      for    correctional           staff    similar       to    those

recommended by WA.           For example, Dr. Condrey’s report

proposes that a Correctional Officer Trainee’s annual

pay be increased from $28,516.80 to $36,489.60.                                See

Condrey Report (doc. no. 1725-1) at 9.                         Like the WA


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report, the defendants are also ordered to implement

Dr. Condrey’s report.

      Additionally, an ADOC document publicly available

online     states      that     it     is     requesting       from     the

legislature increased funding for its 2020 Fiscal Year

Budget     to    account      for     a     “20 %    pay     raise”    for

correctional staff.           Pls Ex. 2735.         Along those lines,

in January 2019, Commissioner Dunn told legislators at

a budget hearing that ADOC was requesting funding for a

20 % increase in pay for security staff, according to a

media report on AL.com that linked to the ADOC budget

document.       See Pls. Ex. 2736.

      In short, by publicly filing Dr. Condrey’s report

and   announcing      the    20 %    pay    increase    in    its    budget

request, ADOC already disclosed that it is planning to

increase      compensation      significantly        for     correctional

officers.       This disclosure would already have triggered

all   three     of   the    harms    that   the     defendants      claimed

would result from unsealing the WA report.                   Informed of

the planned compensation increases, (1) personnel from


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other state agencies would have already sought an equal

raise for themselves, (2) competitor employers in the

labor market would have tried to undercut ADOC, and (3)

ADOC staff would have expectations of raises that, if

unfulfilled, could damage morale.             In other words, if,

as the defendants claimed, the sky was going to fall

upon unsealing the WA report, it already should have

started falling with the publication of Dr. Condrey’s

report     and   ADOC’s    announcement        of    the    20 %     pay

increases.

    One additional argument, raised by the defendants

at the April hearing, remains.               At the hearing, the

defendants presented attorneys from the State Personnel

Department.      The    attorneys      represented    to   the     court

that their department and ADOC had agreed to pursue

compensation increases for correctional staff in the

next fiscal year that are significantly lower than the

WA and Condrey reports’ recommendations and the 20 %

increase    announced     in   the budget     document.        Defense

counsel did not dispute the existence of this agreement


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between ADOC and the State Personnel Department.                                      To

the    contrary,           defense             counsel        argued        that     the

agreement--and its approval by the legislature--would

be endangered by unsealing the report.                                 See Apr. 15,

2019 Hrg. Tr. (doc. no. 2498) at 55 (“[T]he real risk

here, Your Honor, is you will let this out, and an

agreement that exists going forward with [the] [S]tate

[P]ersonnel [Department] and others may fall apart, and

we may not get the approval of the legislature.”).

      This    argument          is    not       persuasive.           The    court    is

troubled      by    the        prospect          of    selectively          concealing

judicial      documents              in        the     hope     of     achieving       a

legislative outcome.                   Hiding such documents from the

public   in    order           to    impact          legislative       deliberations

strikes the court as an improper exercise of judicial

power.

      Furthermore,             defense              counsel’s        representations

indicating         that    ADOC           is    not     currently       seeking       to

implement      the        WA        report’s         recommended        compensation

increases provides further grounds for unsealing them.


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As   previously        mentioned,       the    court    ordered       that,    by

December 1, 2018, ADOC was required to implement the

recommendations, “as modified by any agreements between

the parties or orders of this court.”                        Braggs, 2018 WL

7106346    at     1.          The     court     has    not     modified       the

recommendations         and    is     not     aware    of    any     agreements

between the parties to do so either.                        Therefore, as of

December     1,       2018,    the     WA     report’s       recommendations

became,    in     effect,      requirements.            Defense      counsel’s

representations           indicating           that      they        are      not

implementing          those    requirements       raises       an     issue   of

possible     noncompliance             with     court        orders.          The

defendants        have        very      little--if           any--legitimate

interest         in      keeping            confidential           any     such

noncompliance.



                       3. Weighing the Interests

     For   the        reasons        outlined     above,       the     public’s

enormous        interest        in     accessing         the       recommended

compensation          increases        outweighs         the       defendants’


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interest     in        confidentiality--an         interest        that     is

weakened    by    the       public    disclosures    ADOC    has    already

made.       This       is     true    regardless     of     whether       ADOC

ultimately implements the WA report’s recommendations.

The question is not even close.



     B. Second and Third Categories: Compensation
    Comparisons and Costs of Recommended Increases

    Because the defendants devoted very little of their

argument to keeping the second and third categories of

information sealed, the court will briefly dispose of

those issues.

    As     previously         mentioned,    the    second    category       of

information        includes          comparisons    of    current         ADOC

correctional officer compensation to compensation for

similar jobs in the private and public sectors.                            See

Redacted WA Report (doc. no. 2150-1) at 80-82.                            The

public     has     a        strong     interest    in     accessing        the

comparisons, as it provides crucial context for the WA

report’s recommended compensation increases.                    Accessing

both pieces of information serves the public’s interest

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in overseeing government spending.                   By contrast, the

defendants      have     a   minimal     interest        in    keeping     the

comparisons      confidential.           Much--if    not       all--of     the

information is already public; the defendants conceded

that “someone could go and research” the information

for themselves.         Apr. 15, 2019 Hrg. Tr. (doc. no. 2498)

at    11-12.       Nevertheless,       the   defendants         essentially

argued that the comparisons should remain confidential

because they consolidate the information in a “neatly

packaged and easily digestible” way.                Id. at 9-10.           The

court    rejects      this   argument.       Whatever          interest    the

defendants have in keeping confidential the packaging

of    otherwise-accessible         information      is        outweighed    by

the     public’s      compelling    interest        in    accessing        the

comparisons.          This is especially true given that a key

takeaway       from    the   comparisons      is     already       publicly

available in another part of the report, which states

that ADOC correctional officer pay “is below other law

enforcement agencies requiring similar qualifications.”

Redacted WA Report (doc. no. 2150-1) at 33.


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       The     third        and        final       category        of     information

pertains to the costs of implementing the WA report’s

recommended compensation increases.                           See id. at 83-84.

Obviously,           knowing           the        estimated        costs        of    the

recommended increases is critical for evaluating the

propriety of the recommendations.                           The public thus has

a    significant        interest             in     accessing       the       estimated

costs.         The     court           is    not     aware     of       any     specific

arguments made by the defendants for why the costs of

the recommendations should remain sealed.                                Nor can the

court        conceive             of         any      convincing              arguments,

particularly         since        the       court    has     already      decided       to

unseal         the      recommended                 compensation              increases.

Accordingly,          the    public’s             interest    in    accessing         the

cost information outweighs the defendants’ interest in

keeping it confidential.



                                             ***

       Based    on     the    reasons             detailed    above,          the    court

granted      the     plaintiffs’             motion    to     unseal      the       Warren


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Averett report in its entirety.               See Unsealing Order

(doc. no. 2489).

    DONE, this the 13th day of May, 2019.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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